

ORDER

PER CURIAM:
AND NOW, this 13th day of November, 1998, there having been filed with this Court by Margaretmary Gall her verified Statement of Resignation dated October 6, 1998, stating that she desires to resign from the Bar of the Commonwealth of Pennsylvania in accordance with the provisions of Rule 215, Pa.R.D.E., it is
ORDERED that the resignation of Mar-garetmary Gall be and it is hereby accepted and she is DISBARRED ON CONSENT *693from the Bar of the Commonwealth of Pennsylvania; and it is further ORDERED that she shall comply with the provisions of Rule 217, Pa.R.D.E. Respondent shall pay costs, if any, to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
